                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                              DOCKET NO. 3:95-cr-00178-MOC

 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 Vs.                                              )                        ORDER
                                                  )
 LONNIE HAMES JR.,                                )
                                                  )
                  Defendant(s).                   )



        THIS MATTER is before the court on an undated, pro se letter from defendant

postmarked the day before defendant’s Supervised Release Violation hearing. Such letter was not

received in chambers until June 10, 2015, one day before the Judgment (#624) on defendant’s

supervised release violation was entered. In such letter, defendant seeks leniency from the court

and asks that he be “taken of[f] probation,” which the court interprets to be a request that no further

supervised release be imposed. As stated at the hearing and reflected in the Judgment, no further

supervision was imposed on defendant as part of such Judgment. Despite the court’s late receipt

of such letter, the court has fully considered the letter and finds nothing in the letter that is either

inconsistent with representations made to the court at the hearing or that would alter the court’s

Judgment.

                                             ORDER

        IT IS, THEREFORE, ORDERED that to the extent defendant’s Letter (#625) seeks relief

from the court that is different than the Judgment (#624) imposed, such relief is denied.

  Signed: June 16, 2015




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